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Exhibit 6
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79th Congress, Ist Session = - - ~ = = House Document No, 96

INTRACOASTAL WATERWAY FROM MOBILE, ALA.,
TO NEW ORLEANS, LA., INCLUDING THE
_ VIOLET CANAL ROUTE, LOUISIANA

LETTER

FROM

THE SECRETARY OF WAR

TRANSMITTING

THE LETTER FROM THE CHIEF OF ENGINEERS, UNITED.
STATES ARMY, DATED APRIL 27, 1942, SUBMITTING A
REPORT, TOGETHER WITH ACCOMPANYING PAPERS AND
TWO ILLUSTRATIONS, ON A REVIEW OF REPORTS ON THE
INTRACOASTAL WATERWAY FROM MOBILE, ALA., TO NEW
ORLEANS, LA., INCLUDING THE VIOLET CANAL ROUTE,
LOUISIANA, REQUESTED BY RESOLUTIONS OF THE
COMMITTEE ON RIVERS AND HARBORS, HOUSE OF REPRE-
SENTATIVES, ADOPTED ON MAY 12,1938, AND JANUARY 24,
1989, AND ALSO AUTHORIZED BY THE RIVER AND HARBOR
ACT APPROVED ON JUNE 20, 1938, AND SUBSEQUENT
CORRESPONDENCE IN RELATION THERETO

UNITED STATES
GOVERNMENT PRINTING OFFICE
WASHINGTON 1 1045

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INTRACOASTAL WATERWAY FROM MOBILE, ALA,, TO NEW
ORLEANS, LA., INCLUDING THE VIOLET CANAL ROUTE,
LOUISIANA -

War DurarrMent,

. OFFICE OF THE CHIEF or ENGINEERS,
Washington, D. C., April 27, 1942.
The CHamMan, CommMirrern on Rivers AnD Harsors,

louse of Representatives, Washington, D.C,

My Drar Mr. Cnarrman: 1. The Committee on Rivers and
Harbors of the House of Representatives, by resolution adopted
May 12, 1938, requested the Board of Ingineers for Rivers and
Harbors to review the reports on Intracoastal Waterway from Mobile,
Ala, to New Orleans, La., submitted in House Document 341,
Seventy-first Congress, second session, with a view to determining
whether it. is advisable to modify the existing project in any way at
this time; and under date of January 24, 1939, requested the Board of
Engineers for Rivers and Harbors to review the reports on Intra-
1° constal Waterway, Mobile, Ala., to New Orleans, La., submitted to

Congress October 28, 1985, by the Chief of Engineers with a view to
determining whether any change in the recommendation contained
therein is justified at the present time. I inclose the report of the

Board. in response thereto. Included is a report on preliminary

examination and survey of Violet Canal route, Louisiana, authorized -

by the River and Harbor Act approved June 20, 1938,

2, After affording local interests full opportunity to be heard the
Bourd recommends that the project for the Intracoastal Waterway,
Mobile Bay, Ala., to New Orleans, La, be modified to provide for:
(a) A dredged channel 12 feet deep and 150 fect wide on the bottom
from the mouth of the Rigolets to the Mississippi River near New
Orleans, La., substantially as indicated by the alinement, route B,

- shown on the accompanying map; with the construction ‘of a 4-lane-
highway basculo bridge of 160-foot horizontal clearance with ap-
proaches al Louisiana State Highway No. 61; and enlargement of

the existing channel in Lake Borgne and Mississippi Sound from 9

eet deep nnd 100 feet wide to 12 feet decp and 150 feet wide on the

bottom, all at an estimated construction cost to the United States of

3,176,000, of which $32,000 is for aids to navigation, with $118,900 |
nnually for maintenance in addition to the latest approved estimate
or annual cost of maintenance; (b) acquisition from the Board of

ommissioners of the Port of Now Orloans of control of that part of
he Inner Harbor Navigation Canal prism south of a point 3,000 feet
orth of Ilorida Avenue, together with the lock, forebay and the St.

Aude Avenue and Florida Avenue Bridges at an annual rental, in

(dition to the foregoing estimated construction cost, to be fixed by
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_ 69470452 -

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2 INTRACOASTAL WATERWAY-— MOBILE, ALA., TO NEW ORLEANS, LA.

~_

negotiation with the Board of Commissioners of the Port of New
Orleans subject to the approval of the Secretary of War but not to
exceed $168,600, this rental to continue until such time_as fee simple
title to the facilities is desired and can be acquired by the United State
at a price satisfactory to the Federal Government, or until substitute
facilities have been constructed by the United States; and with ap.
proximately $81,000 annually for maintenance and operation of the
ock and the bridges at St. Claude Avenue and Florida Avenue by the
United States, provided that prior to initiating any work under the
modified project, local interests shall furnish assurances to the Scere
tary of War that they are empowered to convey to the United States
satisfactory rights to control, operate and maintain the necessary
Inner Harbor Canal facilities, and to comply with all other cond}
tions of local cooperation to which the modified project may be subject
and that sich compliance will be effected promptly as required, and

that they will assume the costs of all rights-of-way, easements, and

flowage damages and major repairs to the lock and shall furnish, free
of cost to the United States, suitable spoil disposal areas required for -
construction and future maintenance, and shall hold and save the
United States free from damage claims incident to or growing out of
the improvement and operation of the waterway.

3, After due consideration of this report, I concur in the recom
mendations of the Board.

Very truly yours,
Kk. Reygowp,

Major General, Chief of ’ngineers,

REPORT OF TILE BOARD OF ENGINEERS FOR RIVERS AND HARBORS

. Warn DrrartMent,
‘Tne Boarp or Excinerns ror Rivers AnD Harnons, .
Washington, D. C.,. April 20, 1948.

Subject: Intracoastal Waterway from Mobile, Ala., to New Orleans,
La., including Violet Canal route, Louisiana,

To: The Chief of Engineers, United States Army.
1. Authority. —This report is submitted in response to the following

resolutions:

(a) Resolved by the Committee on Rivers and Harbors of the House of Represin
talives, United States, That the Board of Mngincors for Rivers and Harbors oreated
under seetion 3.of the River and Harbor Act, approved June 13, 1902, be and ls
hereby, requested to review the reports on Intracoastal Waterway from Moblls,
Alabama, to New Orleans, Louisiana, submitted in House Document 341, Seventy.
first Congress, second session, with a view to determining whother it is advisable
to nodify the existing project in any way at this time,—Adopted May 12, 1988,

(b) Resolved by the Commiltce on Rivers and Harbors of the House of Reprete-
tatives, United States, That {he Board of Engincers for Rivers and Harbors crested.
under section 8 of the River and Harbor Act, approved June 18, 1902, bo andls
hereby, requested to review the reports on Intracoastal Waterway, Mobilo,:Als
bama, to New Orleans, Louisiana, submitted to Congress October 23, 1036; by
the Chief of Engineers with a view to determining whether any change in ‘the |
recommendation contained therein is justified at the present time.— Adopted

January 24, 10389, a
Included is a report on preliminary examination and surve of Violet
Canal route, Louisiana, authorized by the River and Harbor Ad:
approved June 20, 1938, .
